Case 2:11-cv-07318-CCC-CLW Document 105-5 Filed 08/23/19 Page 1 of 2 PageID: 1708




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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


                                                        Civil Action No. 11-cv-7318 (CCC)(CLW)
   JUICE ENTERTAINMENT, LLC, THOMAS
   DORFMAN, AND CHRIS BARRETT,
                      Plaintiffs,
                                                           CERTIFICATION OF SERVICE
                           vs.

   LIVE NATION ENTERTAINMENT, INC.,

                                       Defendant.



          I, Ian S. Marx, hereby certify as follows:

          1.      I am a shareholder in the law firm of Greenberg Traurig, LLP, attorneys for

  Defendant Live Nation Entertainment, Inc.

          2.      On August 23, 2019, I caused a true and correct copy of Defendant Live Nation

  Entertainment, Inc.’s Notice of Motion, Memorandum of Law in Support of its Motion to Strike

  Plaintiffs Juice Entertainment, LLC, Thomas Dorfman, and Chris Barrett’s expert report,

  Certification of Ian S. Marx In Support of Motion to Strike Plaintiffs’ Expert Report, Proposed

  Order, and this Certification of Service to be electronically filed with the Clerk of the United States

  District Court for the District of New Jersey, using the CM/ECF system. In so doing, all counsel

  of record have been electronically served with a copy of all of the aforementioned documents.

  ACTIVE 45262275v1
Case 2:11-cv-07318-CCC-CLW Document 105-5 Filed 08/23/19 Page 2 of 2 PageID: 1709




          I certify under penalty of perjury that the forgoing statements made by me are true. I am

  aware that if any of the foregoing statements are willfully false, I am subject to punishment


  Dated: August 23, 2019                                        /s/ Ian S. Marx
                                                               Ian S. Marx




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